              Case 20-51051-TMH        Doc 228    Filed 09/19/23    Page 1 of 6




                        UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF DELAWARE

In re:                               )
                                     )                    Chapter 11
RS FIT NW LLC,                       )
                                     )                    Case No. 20-11568 (KBO)
                     Debtor.         )
                                     )                    (Jointly Administered)
                                     )
                                     )
24 HOUR FITNESS WORLDWIDE, INC.,     )
                                     )
                     Plaintiff,      )
                                     )
           v.                        )
                                     )
CONTINENTAL CASUALTY COMPANY;        )                    Adv. Pro. No. 20-51051 (KBO)
ENDURANCE AMERICAN SPECIALTY         )
INSURANCE COMPANY; STARR SURPLUS     )
LINES INSURANCE COMPANY; ALLIANZ     )
GLOBAL RISKS US INSURANCE COMPANY; )
LIBERTY MUTUAL INSURANCE COMPANY; )
BEAZLEY-LLOYD’S SYNDICATES 2623/623; )
ALLIED WORLD NATIONAL ASSURANCE      )
COMPANY; QBE SPECIALTY INSURANCE     )
COMPANY; and GENERAL SECURITY        )
INDEMNITY COMPANY OF ARIZONA,        )
                                     )
                     Defendants.     )
                                     )

                NINTH AMENDED STIPULATED SCHEDULING ORDER

         WHEREAS, the above-captioned parties have conferred concerning the above-captioned

adversary proceeding’s (the “Adversary Proceeding”) deadlines and schedule. The parties agree

that certain amendments and modifications to the Eighth Amended Stipulated Scheduling Order

[D.I. 223], are necessary to promote the efficient and expeditious disposition of the Adversary

Proceeding.




                                              1
              Case 20-51051-TMH          Doc 228      Filed 09/19/23       Page 2 of 6




       THEREFORE, the parties stipulate and agree to amend the Eighth Amended Stipulated

Scheduling Order as follows:

       1.      Expert Discovery Cut-Off: All expert discovery, including depositions, will be

completed on or before August 25, 2023.

       2.      Dispositive Motion Deadline: Pursuant to Rule 7007-1 of the Local Rules for the

United States Bankruptcy Court for the District of Delaware (the “Local Rules”), the following

deadlines shall apply to the filing and briefing of dispositive motions:

   a. All dispositive motions shall be filed and served by no later October 20, 2023.

   b. Opposition papers shall be filed and served by December 8, 2023.

   c. Reply papers shall be filed and served by January 12, 2024.


       3.      Motion to Withdraw the Reference:         Defendants may renew their motion to

withdraw the reference of this Adversary Proceeding pursuant to 28 U.S.C. § 157(d) on or before

October 13, 2023. Plaintiff reserves all rights to object to any such renewal that Defendants may

file, including, but not limited to, objections based on contractual language and, generally,

objections to any asserted grounds for withdrawal of the reference.

       4.      For the avoidance of doubt, all other provisions and deadlines set forth in the

Scheduling Order (D.I. 66) shall remain in full force and effect, with the exception of the foregoing

deadlines addressed herein.


Dated: September 19, 2023                             Respectfully submitted,

                                                      DLA PIPER LLP (US)

                                                      /s/ Matthew S. Sarna
                                                      Matthew S. Sarna (Bar No. 6578)
                                                      1201 North Market Street, Suite 2100
                                                      Wilmington, DE 19801-1147



                                                 2
Case 20-51051-TMH   Doc 228   Filed 09/19/23   Page 3 of 6




                              302.468.5700
                              302.394.2341 (Fax)
                              Email: matthew.sarna@us.dlapiper.com

                              Brett Ingerman (admitted pro hac vice)
                              DLA PIPER LLP (US)
                              The Marbury building
                              6225 Smith Avenue
                              Baltimore, MD 21209-3600
                              410.580.3000
                              410.580.3001 (Fax)
                              Email: brett.ingerman@us.dlapiper.com

                              Attorneys for Continental Casualty
                              Company

                              REED SMITH LLP

                              /s/ Mark W. Eckard
                              Mark W. Eckard (No. 4542)
                              1201 North Market Street, Suite 1500
                              Wilmington, DE 19801
                              (302) 778-7500
                              (302) 778-7575 (Fax)
                              meckard@reedsmith.com

                              David E. Weiss (admitted pro hac vice)
                              T. Connor O’Carroll (admitted pro hac vice)
                              101 Second Street, Suite 1800
                              San Francisco, CA 94105-3659
                              (415) 543-8700
                              (415) 391-8269 (Fax)
                              dweiss@reedsmith.com
                              cocarroll@reedsmith.com

                              Counsel for Plaintiff 24 HOUR FITNESS
                              WORLDWIDE, INC.

                              HOGAN McDANIEL

                              /s/ Garvan F. McDaniel
                              Garvan F. McDaniel (No. 4167)
                              1311 Delaware Avenue
                              Wilmington, DE 19806
                              (302) 656-7596
                              (302) 656-7599 (Fax)
                              gfmcdaniel@dkhogan.com


                          3
Case 20-51051-TMH   Doc 228   Filed 09/19/23   Page 4 of 6




                              Benjamin W. Loveland (admitted pro hac
                              vice)
                              WILMER CUTLER PICKERING
                              HALE AND DORR LLP
                              60 State Street
                              Boston, MA 02109
                              (617) 526-6641
                              benjamin.loveland@wilmerhale.com

                              Lauren R. Lifland (admitted pro hac vice)
                              WILMER CUTLER PICKERING
                              HALE AND DORR LLP
                              7 World Trade Center
                              250 Greenwich Street
                              New York, NY 10007
                              (212) 230-8800
                              lauren.lifland@wilmerhale.com

                              Counsel to Endurance American Specialty
                              Insurance Company; Starr Surplus Lines
                              Insurance Company; Allianz Global Risks
                              US Insurance Company; Certain
                              Underwriters at Lloyd’s of London
                              subscribing to Policy No. W27C0A190101;
                              incorrectly sued as “Beazley-Lloyd’s
                              Syndicates 2623/623”; QBE Specialty
                              Insurance Company and General Security
                              Indemnity Company of Arizona

                              GELLERT SCALI BUSENKELL &
                              BROWN, LLC

                              /s/ Michael Busenkell
                              Michael Busenkell (DE No. 3933)
                              1201 N. Orange Street, Suite 300
                              Wilmington, DE 19801
                              (302) 425-5812
                              mbusenkell@gsbblaw.com

                              Richard G. Haddad (admitted pro hac vice)
                              OTTERBOURG, P.C.
                              230 Park Avenue
                              New York, NY 10169-0075
                              (212) 661-9100
                              rhaddad@otterbourg.com




                          4
Case 20-51051-TMH   Doc 228   Filed 09/19/23   Page 5 of 6




                              Counsel to Allied World National Assurance
                              Company

                              Robert W. Fisher (admitted pro hac vice)
                              CLYDE & CO US LLP
                              271 17th Street NW, Suite 1720
                              Atlanta, GA 30363
                              (404) 410-3150
                              robert.fisher@clydeco.us

                              Counsel to Endurance American Specialty
                              Insurance Company

                              Stacey S. Farrell (admitted pro hac vice)
                              Marlie McDonnell (admitted pro hac vice)
                              CLYDE & CO US LLP
                              271 17th Street NW, Suite 1720
                              Atlanta, GA 30363
                              (404) 410-3150
                              stacey.farrell@clydeco.us
                              marlie.mcdonnell@clydeco.us

                              Counsel to Allianz Global Risks US
                              Insurance Company

                              Courtney E. Murphy (admitted pro hac vice)
                              Kyle M. Medley (admitted pro hac vice)
                              Adam S. Cohen (admitted pro hac vice)
                              HINSHAW & CULBERTSON LLP
                              800 Third Avenue, 13th Floor
                              New York, NY 10022
                              (212) 471-6200
                              cmurphy@hinshawlaw.com

                              Counsel to Starr Surplus Lines Insurance
                              Company and Certain Underwriters at
                              Lloyd's of London subscribing to Policy No.
                              W27C0A190101, incorrectly sued as
                              “Beazley-Lloyd’s Syndicates 2623/623”

                              Matthew M. Burke (admitted pro hac vice)
                              ROBINS KAPLAN LLP
                              800 Boylston Street, Suite 2500
                              Boston, MA 02199
                              (617) 859-2711
                              mburke@robinkaplan.com



                          5
Case 20-51051-TMH   Doc 228   Filed 09/19/23   Page 6 of 6




                              Douglas R. Gooding (admitted pro hac
                              vice)
                              Jonathan D. Marshall (admitted pro hac
                              vice)
                              CHOATE, HALL & STEWART LLP
                              Two International Place
                              Boston, MA 02110
                              (617) 248-5000
                              dgooding@choate.com
                              jmarshall@choate.com

                              Counsel to Liberty Mutual Fire Insurance
                              Company

                              Elizabeth Kniffen (admitted pro hac vice)
                              ZELLE LLP
                              500 Washington Avenue South, Suite 4000
                              Minneapolis, MN 55415
                              (612) 359-4261
                              ekniffen@zelle.com

                              Counsel to QBE Specialty Insurance
                              Company and General Security Indemnity
                              Company of Arizona




                          6
